                 Case 3:18-cv-02066-KAD Document 1 Filed 12/14/18 Page 1 of 8



                                   LINITED STATES DISTRICT COURT
                                      DISTRICT OF CONNECTICUT


                                                               Case No.:
 TONYA MONTIGNY,

                                    Plaintiff,
                                                               Jury Trial Demanded
         vs.

 AMERICAN CORADIU S INTERNATI ONAL,
                                                               COMPLAINT
         LLC
                                                               December 14,2018
                                     Defendant.




         Tonya Montigny ("Plaintiff'), by and through undersigned
                                                                  counsel, states as follows:

                                                 JURISDICTION
         l   '      This is an action for damages brought by an individual
                                                                           consumer for violations ofthe

 Fair Debt collection Practices Act, 15        u.s.c. 5 1692, et seq.(the ..FDCpA"), which prohibits debt
 collectors from engaging in abusive, deceptive, and unfair practices.

        2'         Jurisdiction of this Court arises under 28 U.S.C. 133
                                                                    $    I and pursuant to l5 U.S.C.               $
 1692k(d), and pursuant to 2g      u.s.c. $ 1367 for pendent state law claims.
        3'         venue isproperbeforethis courtunder23 u.s.c.
                                                                $ l39l(b), as Defendants transact
business in this District, Plaintiffresides in this District,
                                                              and as a substantial part ofthe events giving

rise to this action occurred in this District.


                                                     PARTIES
        4'         Plaintiff is a natural person who    at all relevant times resided in   Norwich, connecticut.
       5'          Plaintiff is a "consumer"   as   defined by 15   u.s.c.   $ 1692a(3) and/or   a   person affected
by a violation of the FDCPA with standing to bring
                                                   this claim under l5               u.s.c. gg 16g2k(a).
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            6'            Upon information and belief, Defendant American Coradius Intemational,
                                                                                                 LLC is a
 corporation with its principal place of business located at2420 Sweet Home
                                                                            Road, Suite 150.
 Amherst,           NY   14228.

            7   '         The principal purpose of the Defendant is the collection of debts
                                                                                            using the mail and

 telephone in interstate commerce.

         8.               The Defendant is a "debt collector" as that term is dehned by      l5 U.S.C. g 1692a(6).

                                                          FACTS

         9'              Defendants' collection activity of which Plaintiff complains occurred
                                                                                               within the
 previous twelve (12) months.

         l0'             In or around December 2013, Plaintiff incurred a financial obligation
                                                                                               that was
 primarily for personal, family or household purposes and is
                                                             therefore a'odebt,, as that term is defined

 by 15 u's'c' $ 1692a(5), namely, a personal credit card debt with Synchrony
                                                                             Bank, in                          the
approximate amount of $1,238.g1.

        I   1'           Sometime thereafter, the debt ("the Debt") was consigned,
                                                                                   assigned, placed or
otherwise transferred to Defendant for collection from plaintiff.

        12'              The Debt arose out of a transaction in which the money, property,
                                                                                           insurance or
services which were the subject of the transaction were primarily
                                                                  forpersonal, family or household
purposes, namely debt from a personal credit card in                  plaintiff
                                                     the                          s name.

        13'              Sometime after incurring the Debt, but before the initiation
                                                                                      of this action, plaintiff
was alleged to have fallen behind on payments owed
                                                   on the Debt.

        14'           At all times relevant hereto, Defendants acted in an attempt to collect
                                                                                              the Debt.
        15'          on or about December 4,2018, Defendant mailed or              caused to be mailed a letter to

Plaintiff' (Annexed and attached hereto           as   Exhibit A is a true copy of the letter dated December 4.
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 2018 sent by Defendant to Plaintiff, except the undersigned counsel has in accordance with Fed. R.

 Civ. P. 5.2 redacted the financial account numbers and Plaintiff         s address   to protect her privacy).

         1   6.    Defendant mailed the letter dated December 4, 201 8 attached as Exhibit A as a part      of
their efforts to collect the Debt.

         17.       The collection letter, attached as Exhibit A, is addressed to Tonya Hamilton.

         18.       The letter referred to in Paragraph 16 states that the "Account Balance" is $1,23g.g      1.

         19.       The letter referred to in Paragraph 16 states that the letter "is from a debt collector"

and "this is an attempt to collect debt."

        20.        Plaintiff received the letter attached as Exhibit A in the mail.

        21.        Plaintiff read the letter attached as Exhibit A upon receipt of the letter in the mail.

        22.        Exhibit A was sent in connection with the collection of the Debt.

        23.        Exhibit A conveyed information regarding the Debt including the Account Balance,

Defendant's internal account number for the Plaintiff s Debt, and a demand for payment.

        24.        On October 6,2017,Plaintiff hled a Chapter 7 bankruptcy in Hartford, Connecticut.

        25.        The bankruptcy petition lists "Tonya A. Hamilton" as another name used bv the

Plaintiff in the eight (8) years prior to filing the petition.

        26-        On January   lT,2}ls,Plaintiffreceived   a discharge   of her debts on January 17,2018.

        27   -     The Defendant was notified ofthe   Plaintiffs bankruptcy     because the Defendant was

listed in the bankruptcy petition's creditor matrix list. Ex. B.

        28.       Defendant wassent notices by the bankruptcy court to at least two (2) different

addresses listed on the creditor matrix. Ex. B.

       29'        Two (2) of the addresses of the Defendant used on the creditor matrix list are all       of
the addresses on the Defendant's collection notices. Ex. A-B.
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        30.      Plaintiffnever entered into any agreement whereby she consented to arbitrate disputes

with the Defendant.

        31.      Defendant's collection activity has caused Plaintiffto incur actual damages, including

but not limited to confusion, stress, and anxiety.

        32.      Plaintiff has a statutory right not to be subject to unlawful debt collection activity

against her.


                                               COUNT       I


                                       15 U.S.C.   I   1692 et sea.

       33.       Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

       34-       In their attempts to collectthe alleged debt form Plaintiff, Defendants have committed

violations of the FDCPA, 15 U.S.C. $ 1692 et seq., including, but not limited, the following:

           a.   Attempting to collect a discharged debt using false, deceptive and misleading

       representations by the false representation of the character, amount, and legal status of the

       debt, in violation of 15 U.S.C. g 1692e(2)(A).




                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against the Defendant for:

                A. Actual damages    pursuantto 15 U.S.C. $ 1692k(a)(l) forannoyance, anxiety, and

                     mconvenlence;

                B. Statutory damages of $1,000.00 pursuant to 15      u.s.c. g 1 6e2k(a)(2XA);
                C. Costs   of litigation and reasonable attorney's fees pursuant to 15 U.S.C.        $

                     16e2k(a)(3);

                A.   Such other relief as the Court may deem just and proper.

                                                   4
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Dated December 14.2018                   Respectfully submitted,




                                        /s/ Kenneth R. Davison
                                        Kenneth R. Davison, Esq. (ct29644)
                                        Action Advocacy PC
                                        One Crouch Street
                                        Groton, CT 06340
                                        Telephone: (860) 449-15 10
                                        Facsimile: (860) 449 -8046
                                        Email : ken@actionadvocacy. com
                                        Counsel for Plaintiff
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                                                        EXHIBIT A




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                  EXHIBIT B


               ACI
               6341 InduconDrive East
               Sanborn, Ny 141,32_g}g.l

               ACI
               2420 Sweet Home Road
               Suite   150
              Buffalo, Ny        L4228_2244

              ACI
              35A Rust Lane
              Boerne, TX     7g   006_g202

              American Coradius       fnt,l
              2420 Sweet Home Rd
              Sutie    150
              Amhersr, My 1422g_2244

             American Coradius fnternatal
             2420 Sweet Home nA, suiie-f-ST
             Amherst, My 74228_2217--'""

             American Coradius       fnternatal
             2420 Sweet Home Rd
             Sutie L50
             Amherst, My 1422g_2244

             American Coradius       fntl IIC
             2420 Sweet Home Road
             Suite   150
             Buffalo, Ny     L4228-2244

             American Coradius Intl          LLC
             35A Rust Lane
             Boerne, TX ?B 006-g202

            ARSNational Servi_ces
            Dept. 5996
            P.O. Box 1259
            Oaks, pA l_9456

            ARS   National Services
            P.O. Box    46gO4G
            Escondido, CA 92046_904G
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 I. (a) PLAINTIFFS                                                                                                                DEFENDANTS
    Tonya Montigny                                                                                                              American Coradius International, LLC

       (b)        County of Residence of First Listed             plaintiff      New London                                       County ofResidence ofFirst Listed Defendant
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       (C)        Attorneys (Firm      Name, Address,     andTelenhone Numhcn                                                      Attomeys ((Known)
 Kenneth R. Davison, Action Advocacy, p C , One Crouch St., Groton, CT
 063a0; (860) 449-1510


 II. BASIS OF JURISDI C|ION grac" o, "x', in one Box onrv)
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VI.     CAUSE OFACTION
                                                     Brief description of cause:
                                                     Violationi of the Fair Debt Collection Practices Act by a Debt Collector
vrl.        REQUESTE                                       CHECK IF THIS IS A CLASS ACTION                              DEMAND$                                         CHECK YES only              demanded in complaint
     COMPLAINT:                                            UNDER RULE 23. F.R.Cv p.                                         10,000.00                                   JURY DEMAND:                     XYes ONo
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t.t    t.+tzv      ta                                                               /s/ Kenneth R. Davison

    RECEIPT #                              AMOLINT                                        APPLYIN{J IFP                                                                             MAG. ruDGE
